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UNITED sTATEs DISTRICT COURT norm 5a m
WESTERN DISTRICT OF TENNESSEE _ …_'”` B`C‘
Western Division 05 JU[_ [ 2 PH 5 h y

UNITED STATES OF AMERICA

_vs-

 

DESIRAY MURRY

 

ORDER OF DETENT|ON PEND|NG TRIAL
FlN D|NGS
ln accordance with the Bail Reform Act, 18 U.S.C. § 3142(1`), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

No condition or combination of conditions of release will reasonably assure the
safety of any other person and the community.

This conclusion is based on the findings and analysis of the matters enumerated in 18 U.S.C.
§ 3142(g) as stated on the record in open court at the detention hearing.

D|RECT|ONS REGARD|NG DETENT|ON

DESIRAY MURRY is committed to the custody of the Attorney General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal. DESIRAY MURRY shall be afforded a reasonable opportunity for private
consultation with defense counsel On order of a Court of the United States or on request of an attorney for the
government, the person in charge ofthe corrections facility shall deliver the Defenclant to the United States marshal for
the purpose of an appearance in connection with a Court proceeding

Dare: July 12, 2005 /@\/f l/PUL k /%d"%

DLANE K. v’Esco\'/o"
UNITED sTATEs MAGISTRATE JUDGE

This document entered on the docket sheet n com |iance /
with Hu|e 55 and/or 32(b) FHCrP on Z/fi 'O

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

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This notice confirms a copy of the document docketed as number 14 in
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Honorable J on McCalla
US DISTRICT COURT

